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 1                                      NOT FOR PUBLICATION
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 6                        IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
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 9   Michael John Kaus,                             No. CV-15-02044-PHX-JJT
10                         Plaintiff,               ORDER
11   v.
12   Equifax Information Services LLC, et al.,
13                         Defendants.
14
15           A Notice of Settlement as to Equifax Information Services, LLC Only (Doc. 22)
16   having been filed,
17           IT IS ORDERED that this matter will be dismissed with prejudice as to Defendant
18   Equifax Information Services, LLC only, 45 days after the docketing of this order unless
19   the Plaintiff or Defendant Equifax Information Services, LLC files a stipulation to
20   dismiss prior to that date. The settlement constitutes an accord which has extinguished
21   the underlying claim as to these two parties only. All pending hearings and motions
22   relating to Plaintiff and Defendant Equifax Information Services, LLC are deemed moot.
23           Dated this 21st day of March, 2016.
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25                                                  Honorable John J. Tuchi
26                                                  United States District Judge

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